Case 3:22-cv-04143-MAS-TJB            Document 111      Filed 11/15/24     Page 1 of 2 PageID:
                                            1879

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


CC FORD GROUP WEST, LLC,

                      Plaintiff,

v.
                                                             No. 3:22-cv-04143 (MAS/TJB)
JENNIFER JOHNSON, CARRIE BICKING,
BETH WEILER, PROJECT VELOCITY, INC.,
PROJECT VELOCITY PARTNERS, LLC,
MEREDITH MANNING,
PHARMAESSENTIA USA CORP.,
MATTHEW ORNELAS-KUH, and JOHN
DOES 1-10,

                      Defendants.

      [PROPOSED] STIPULATION AND ORDER TO EXCEED PAGE LIMITS FOR
         COMBINED MEMORADA IN SUPPORT OF AND IN OPPOSITION TO
     PHARMAESSENTIA’S AND MEREDITH MANNING’S MOTIONS TO DISMISS

           WHEREAS, on September 6, 2024, Plaintiff CC Ford Group West, LLC (“CCFW” or

Plaintiff”) filed a Second Amended Complaint (“SAC”) in this matter (ECF-92);

           WHEREAS, on November 8, 2024, Defendant PharmaEssentia USA Corp. (“PEC”)

filed a request for leave to file excess pages, to wit: a combined memorandum in support of PEC’s

motion to dismiss and Defendant Meredith Manning’s motion to dismiss not to exceed 45 pages

(using 12-point proportional font);

           WHEREAS, Plaintiff does not oppose PEC and Manning’s request to file a combined

memorandum not to exceed 45 pages, provided that Plaintiff can file a combined opposition to

PEC’s and Manning’s motions to dismiss not to exceed 45 pages (using 12-point proportional

font);

           WHEREAS, PEC and Manning do not oppose Plaintiff filing an opposition to PEC’s

and Manning’s motions to dismiss not to exceed 45 pages (using 12-point proportional font); and

           WHEREAS, Plaintiff does not oppose PEC and Manning filing a combined reply brief

not to exceed 15 pages (using 12-point proportional font).

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Case 3:22-cv-04143-MAS-TJB           Document 111        Filed 11/15/24     Page 2 of 2 PageID:
                                           1880

              IT IS HEREBY STIPULATED AND AGREED by Plaintiff, PEC, and Manning

that:

        (1)     Defendant PEC and Defendant Manning may file a combined memorandum in

support of their motions to dismiss not to exceed 45 pages (using 12-point proportional font);

        (2)     Plaintiff may file a combined opposition to Defendant PEC’s and Defendant

Manning’s combined motions to dismiss not to exceed 45 pages (using 12-point proportional font);

and

        (3)     Defendant PEC and Defendant Manning may file a combined reply brief not to

exceed 15 pages (using 12-point proportional font).

DATED: November 15, 2024

MANDELBAUM BARRETT PC

By: __/s/
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USA Corp.



SO ORDERED


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Bongiovanni, Tonianne J., U.S.M.J.


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